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                                     United States District Court
                                     Southern District of Texas
                                          Victoria Division
State of Texas, et al.                               §
                                                     §
versus                                               §           Civil Action 6:23−cv−00013
                                                     §
Bureau of Alcohol, Tobacco, Firearms and             §
Explosives, et al.


                                       Official Transcript Filed

An official transcript has been filed. It may have information restricted from public disclosure.
See E-Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

Ninety days after a transcript has been filed, it becomes electronically available to the public on
PACER. To comply with the rules on privacy, the parties must redact protected information before
then.

If redaction is needed, the parties must file a statement of the items to be redacted. Include the
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                                                               Nathan Ochsner, Clerk
